                 Case 6:16-bk-16877-WJ                     Doc 382 Filed 10/26/18 Entered 10/26/18 14:13:50               Desc
                                                             Main Document Page 1 of 5


                       1 Leonard M. Shulman - Bar No. 126349
                         Rika M. Kido - Bar No. 273780
                       2 SHULMAN HODGES & BASTIAN LLP
                         100 Spectrum Center Drive, Suite 600                                  FILED & ENTERED
                       3 Irvine, California 92618
                         Telephone:      (949) 340-3400
                       4 Facsimile:      (949) 340-3000                                              OCT 26 2018
                         Email:          LShulman@shbllp.com
                       5                 RKido@shbllp.com                                       CLERK U.S. BANKRUPTCY COURT
                                                                                                Central District of California
                                                                                                BY gooch      DEPUTY CLERK
                      6 Attorneys for Lynda T. Bui,
                        Chapter 7 Trustee
                      7
                                                 UNITED STATES BANKRUPTCY COURT
                      8
                                                   CENTRAL DISTRICT OF CALIFORNIA
                      9
                                                        RIVERSIDE DIVISION
                     10

                     11 In re:                                               Case No. 6:16-bk-16877-WJ

                     12 RUSSEL DENNIS HILES, III,                            CHAPTER 7

                     13                          Debtor.
                                                                             ORDER GRANTING CHAPTER 7
                     14                                                      TRUSTEE’S MOTION AND:

                     15                                                      (1) APPROVING THE SALE OF REAL
                                                                                 PROPERTY OF THE ESTATE FREE AND
                     16                                                          CLEAR OF LIENS PURSUANT TO
                                                                                 BANKRUPTCY CODE §§ 363(b)(1) and (f);
                     17
                                                                             (2) APPROVING SALE OF PERSONAL
                                                                                 PROPERTY FREE AND CLEAR OF
                     18                                                          LIENS PURSUANT TO BANKRUPTCY
                                                                                 CODE §§ 363(b)(1) and (f);
                     19
                                                                             (3) APPROVING PAYMENT OF REAL
                     20                                                          ESTATE COMMISSION AND OTHER
                                                                                 COSTS; AND
                     21
                                                                             (4) GRANTING RELATED RELIEF
                     22

                     23                                                      [Real Property commonly known at 66876 Gist
                                                                             Road, Bend, Oregon 97703]
                     24
                                                                             Hearing:
                     25                                                      Date:      October 23, 2018
                                                                             Time:      1:00 p.m.
                     26                                                      Ctrm.:     304
                                                                             Place:     United States Bankruptcy Court
                     27                                                                 3420 Twelfth Street
                                                                                        Riverside, CA 92501
                     28
 SHULMAN HODGES &
     BASTIAN LLP
100 Spectrum Center Drive
        Suite 600                                                              1
    Irvine, CA 92618        5401-000\1290586.1
                 Case 6:16-bk-16877-WJ                    Doc 382 Filed 10/26/18 Entered 10/26/18 14:13:50                           Desc
                                                            Main Document Page 2 of 5


                       1             On October 23, 2018 at 1:00 p.m., the Court held a hearing regarding the “Motion for

                       2 Order: (1) Approving the Sale of Real Property of the Estate Free and Clear of Certain Liens

                       3 Pursuant to Bankruptcy Code §§ 363(b)(1) and (f), Subject to Overbids, Combined With Notice of

                       4 Bidding Procedures and Request for Approval of the Bidding Procedures Utilized; (2) Approving

                       5 Sale of Personal Property Free and Clear of All Liens, Claims and Encumbrances Pursuant to

                       6 11 U.S.C. § 363(f); (3) Approving Payment of Real Estate Commission and Other Costs; and

                       7 (4) Granting Related Relief” [docket #356] (“Motion”) filed by Lynda Bui, chapter 7 trustee

                       8 (“Trustee”) for the bankruptcy estate of Russel Dennis Hiles, III (“Debtor”). All appearances were

                       9 noted on the record.

                     10              The Court having considered the Motion and related pleadings, oral arguments, and the

                     11 record in this case, and good cause appearing, hereby ORDERS as follows:

                     12              1.          The Motion is granted. The Trustee is authorized to sell to Drew Hood (“Buyer”)

                     13 or his assignee1, for the sum of $1,995,000, the estate’s interest in the real property located at

                     14 17345 Plainview Road, Bend, OR 97703, 17265 Plainview Road, Bend, OR 97703, 66876 Gist

                     15 Road, Bend, OR 97703, and 66822 Gist Road, Bend OR 97703 (“Property”). The Property is

                     16 legally described as follows:2

                     17              Parcel 1:

                     18              A Parcel of land situated in the Southwest Quarter (SW1/4) of Section 31, Township 15 South,
                                     Range 11, East of the Willamette Meridian, Deschutes County, Oregon, described as follows:
                     19
                                     That portion of the Southeast Quarter of the Southwest Quarter (SE1/4 SW1/4) of said Section 31,
                     20              lying South of Plainview Road and lying West of Sisemore Road and lying North of that certain
                                     parcel of land described in Volume 132, Page 421, of Deed Records.
                     21
                                     Parcel 2:
                     22
                                     Parcel 2 of Partition Plat No. 2000-55, Plat filed October 13, 2000 in the office of the County Clerk
                     23              for Deschutes County, Oregon.

                     24              Parcel 3:

                     25              Parcel 1 of Partition Plat 2000-55, Plat filed October 13, 2000 in the office of the County Clerk for
                                     Deschutes County, Oregon.
                     26

                     27              1
                                         Any assignee needs prior approval by the Trustee.
                     28            2
                                     The legal description for the Property is believed to be accurate but may be corrected or updated by the title
 SHULMAN HODGES &           company in the transfer documents as necessary to complete the proposed sale transaction.
     BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
    Irvine, CA 92618
                            5401-000\1290586.1                                          2
                 Case 6:16-bk-16877-WJ                   Doc 382 Filed 10/26/18 Entered 10/26/18 14:13:50                 Desc
                                                           Main Document Page 3 of 5


                       1             2.          The Trustee is authorized to sell to the Buyer, for the sum of $10,000, the estate’s

                       2 interest in the Personal Property (defined in the Motion), with closing of the sale to occur on or

                       3 before ten days from the entry of this order, unless extended by the Trustee at her full discretion.

                       4             3.          The sale of the Property to the Buyer shall be on the terms and conditions as set

                       5 forth in the Residential Real Estate Sale Agreement and related addendum (collectively the

                       6 “Agreement”), a copy of which is attached as Exhibit 3 to the Declaration of Lynda T. Bui

                       7 annexed to the Motion, and shall close, with Buyer tendering the full purchase price, not more

                       8 than ten calendar days after the entry of this order, unless extended by the Trustee at her full

                       9 discretion.

                     10              4.          The sale of the Property and Personal Property is “as is-where is” without

                     11 warranties of any kind, express or implied, being given by the Trustee.

                     12              5.          The sale of the Property and the Personal Property is free and clear of liens

                     13 pursuant to 11 U.S.C. § 363(f), with liens not satisfied through the sale to attach to the sale

                     14 proceeds in the same validity and priority as prior to the closing of the sale.

                     15              6.          The Trustee is authorized to: (a) perform under, consummate, and implement the

                     16 Agreement, (b) execute all additional instruments and documents that may be reasonably

                     17 necessary or desirable to implement the Agreement and the transactions contemplated by the

                     18 Agreement, (c) take all further actions as may be reasonably necessary or appropriate for the

                     19 purposes of assigning, transferring, granting, conveying, encumbering or transferring the Property

                     20 as contemplated by the Agreement, and (d) take such other and further reasonable steps as

                     21 contemplated by the Agreement or reasonably required to fulfill the Trustee's obligations under the

                     22 Agreement.

                     23              7.          The Trustee is authorized to pay from the proceeds of the sale of the Property all

                     24 ordinary and customary costs of sale, including escrow fees.

                     25              8.          Through escrow for the sale of the Property, the Trustee is authorized to pay the

                     26 real estate commission in the amount of five percent (5%) of the gross selling price of the

                     27 Property to be split as follows: 1% for the Estate, 2% for the Trustee’s Broker (Strategic Realty,

                     28 LLC) and 2% for the Selling Broker (Keller Williams Central Oregon).
 SHULMAN HODGES &
     BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
    Irvine, CA 92618
                            5401-000\1290586.1                                     3
                 Case 6:16-bk-16877-WJ                   Doc 382 Filed 10/26/18 Entered 10/26/18 14:13:50                 Desc
                                                           Main Document Page 4 of 5


                       1             9.          The Trustee is authorized to pay liens, costs of sale and other expenses directly

                       2 from the sale proceeds at the close of escrow including: (a) all real estate taxes owed to the

                       3 Deschutes County Treasurer and Tax Collector, (b) exclusive farm use tax liabilities owed to the

                       4 Deschutes County Treasurer and Tax Collector, (c) all amounts owed to Sun Mountain Water

                       5 Systems; (d) all amounts owed to Bank of America, N.A., (e) real estate commission not to exceed

                       6 five percent, and (f) escrow fees which shall be split between Buyer and Estate in the manner

                       7 customary in the County where the Property is located (Deschutes County, Oregon).

                       8             10.         The Trustee is authorized to use the proceeds from the sale of the Property to

                       9 (a) reimburse the Broker’s costs related to the Property in the amount not to exceed $2,000, and

                     10 (b) pay the Estate’s liability insurance premium in the amount of $14,049.10.

                     11              11.         This Court shall and hereby does retain jurisdiction to (a) enforce and implement

                     12 the terms and provisions of the Purchase Agreement, all amendments thereto, any waivers and

                     13 consents thereunder, and any other supplemental documents or agreements executed in connection

                     14 therewith; (b) resolve any disputes, controversies or claims arising out of or relating to the

                     15 Purchase Agreement; and (c) interpret, implement, and enforce the provisions of this order.

                     16              12.         The Buyer is a buyer in “good faith” within the meaning of 11 U.S.C. § 363(m),

                     17 and, as such, is entitled to the protections afforded thereby. Pursuant to 11 U.S.C. § 363(m),

                     18 absent a stay of this order pending appeal, the reversal or modification on appeal of this order, or

                     19 any provision thereof, shall not affect the validity of the sale transaction approved hereby which is

                     20 consummated prior to such stay, reversal or modification on appeal.

                     21              13.         The validity of the sale approved hereby shall not be affected by the appointment of

                     22 a successor trustee, the dismissal of this case, or its conversion to another chapter under title 11 of

                     23 the United States Code.

                     24

                     25

                     26

                     27

                     28
 SHULMAN HODGES &
     BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
    Irvine, CA 92618
                            5401-000\1290586.1                                     4
                 Case 6:16-bk-16877-WJ                   Doc 382 Filed 10/26/18 Entered 10/26/18 14:13:50               Desc
                                                           Main Document Page 5 of 5


                       1             14.         The opposition to the Motion is overruled. However, in light of the opposition, the

                       2 Court shall not waive the 14 day stay set forth in Rule 6004(h) of the Federal Rules of Bankruptcy

                       3 Procedure.

                       4                                                        ###

                       5

                       6

                       7

                       8

                       9

                     10

                     11

                     12

                     13

                     14

                     15

                     16

                     17

                     18

                     19

                     20

                     21

                     22

                     23

                     24

                     25

                     26 Date: October 26, 2018

                     27

                     28
 SHULMAN HODGES &
     BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
    Irvine, CA 92618
                            5401-000\1290586.1                                    5
